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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

       Plaintiff,                                           Case No. 1:16-CR-4367-002-JMC

v.

LUIS ANGEL GUERRERO,

       Defendant.

                            ORDER GRANTING UNOPPOSED
                          MOTION TO CONTINUE SENTENCING

       On June 15, 2018, Defendant filed an Unopposed Motion to Continue Sentencing for

Defendant Luis Angel Guerrero. In that motion, Defendant Guerrero states that his child is

anticipated to be born on July 29, 2018 and requests a sixty (60) day continuance of the sentencing

hearing. The sentencing hearing is currently scheduled for June 21, 2018. Defendant’s counsel

represents that the United States does not oppose the motion to continue the sentencing hearing in

this matter.

        FOR GOOD CAUSE SHOWN, this Court GRANTS Defendant’s Unopposed Motion to

Continue Sentencing (Doc.87) and CONTINUES GENERALLY Defendant’s Sentencing

Hearing.

       IT IS SO ORDERED.

                                                            Entered for the Court
                                                            this the 19th day of June, 2018

                                                            /s/ Joel M. Carson III______
                                                            Joel M. Carson III
                                                            United States Circuit Judge
                                                            Sitting by Designation
